                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
DONIEL CARTER,

                          Plaintiff,
      v.                                          Case No. 18-cv-727-pp

STATE OF WISCONSIN
DEPARTMENT OF CORRECTIONS,
and ERIKA WATSON

                        Defendants.
______________________________________________________________________________

ORDER GRANTING DEFENDANT “STATE OF WISCONSIN DEPARTMENT OF
            CORRECTION’S” MOTION TO DISMISS (DKT. NO. 9)
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      Plaintiff Doniel Carter, a former Wisconsin state prisoner, filed a lawsuit

alleging that the “State of Wisconsin Department of Corrections” and Erika

Watson violated his civil rights at the Fox Lake Correctional Institution. Dkt.

No. 1. On July 10, 2018, the “State of Wisconsin, Department of Corrections”

filed a motion to dismiss, asserting that it is entitled to sovereign immunity

under the Eleventh Amendment. Dkt. No. 9. The plaintiff responded to the

motion, indicating that he does not oppose dismissal of this defendant only,

and that he will pursue his claims against individual defendants. Dkt. No. 11

at 2. The court will dismiss this defendant, and will screen the complaint as to

the remaining defendant.

      The court GRANTS the “State of Wisconsin, Department of Corrections’”




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motion to dismiss. Dkt. No. 9. The court ORDERS that the State of Wisconsin,

Department of Corrections is DISMISSED as a defendant.

     Dated in Milwaukee, Wisconsin this 21st day of August, 2018.

                                   BY THE COURT:


                                   ________________________________________
                                   HON. PAMELA PEPPER
                                   United States District Judge




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